Case 2:13-cr-06070-SAB ECFNO.18 filed 12/10/13 PagelD.34 Pagelof1

PENALTY SLIP
NAME: KENNETH RICHARD ROWELL
NUMBER OF COUNTS: 1
Count 1: 21 U.S.C. § 841(a)(1)
Vio: Distribution of a Controlled Substance (Methamphetamine)
Penalty: Minimum of 5 years and maximum of 40 years imprisonment; $5,000,000 fine, or both;

at least 4 years supervised release; a $100.00 special assessment; and denial of certain federal
benefits.

Notice of forfeiture pursuant to 18 U.S.C. § 981 (a)(1)(C) and 28 U.S.C. § 2461(c).

CR-13-6070-WEN-1
Case No.

USA Initials:

